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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-107V
                                    Filed: January 11, 2018
                                        UNPUBLISHED


    WILLIE D. WEBB,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Damages Decision Based on Proffer;
    v.                                                       Tetanus Diphtheria (Td) Vaccine;
                                                             Shoulder Injury Related to Vaccine
    SECRETARY OF HEALTH AND                                  Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Diana Lynn Stadelnikas, Maglio Christopher & Toale, PA, Sarasota, FL, for petitioner.
Lynn Elizabeth Ricciardella, U.S. Department of Justice, Washington, DC, for
respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On January 23, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a Shoulder Injury Related to
Vaccine Administration (“SIRVA”) as a result of her July 6, 2016 Tetanus Diphtheria
(“Td”) Vaccine. Petition at 1-2. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

       On August 16, 2017, a ruling on entitlement was issued, finding petitioner entitled
to compensation for SIRVA. On January 10, 2018, respondent filed a proffer on award
of compensation (“Proffer”) indicating petitioner should be awarded $87,821.65. Proffer
at 1. In the Proffer, respondent represented that petitioner agrees with the proffered

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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award. Based on the record as a whole, the undersigned finds that petitioner is entitled
to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $87,821.65 in the form of a check payable to
petitioner, Willie D. Webb. This amount represents compensation for all damages that
would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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                       IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                 OFFICE OF SPECIAL MASTERS


    WILLIE D. WEBB,

                       Petitioner,

    v.                                                       No. 17-107V
                                                             Chief Special Master Dorsey
    SECRETARY OF HEALTH AND                                  ECF
    HUMAN SERVICES,

                       Respondent.


                    RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

         I.       Compensation for Vaccine Injury-Related Items:

               On August 16, 2017, respondent filed a Vaccine Rule 4(c) report concluding that

petitioner suffered an injury that is compensable under the National Childhood Vaccine Injury

Act of 1986, as amended, 42 U.S.C. §§300aa-10 to -34. Accordingly, that same day, the Chief

Special Master issued a Ruling on Entitlement.

               Respondent now proffers that, based on the evidence of record, petitioner should be

awarded $87,821.65. This amount represents all elements of compensation to which petitioner

would be entitled under 42 U.S.C. § 300aa-15(a)(1); -15(a)(3)(A); and -15(a)(4). Petitioner

agrees.

         II.      Form of the Award:

               The parties recommend that the compensation provided to petitioner should be made as a

lump sum payment of $87,821.65, in the form of a check payable to petitioner, Willie Webb.1



1
 Should petitioner die prior to entry of judgment, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering.


                                                       1
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Petitioner is a competent adult. Evidence of guardianship is not required in this case. This

amount accounts for all elements of compensation under 42 U.S.C. § 300aa-15(a) to which

petitioner would be entitled.

                                     Respectfully submitted,

                                     CHAD A. READLER
                                     Acting Assistant Attorney General

                                     C. SALVATORE D’ALESSIO
                                     Acting Director
                                     Torts Branch, Civil Division

                                     CATHARINE E. REEVES
                                     Deputy Director
                                     Torts Branch, Civil Division

                                     HEATHER L. PEARLMAN
                                     Assistant Director
                                     Torts Branch, Civil Division

                                     /s/ Lynn E. Ricciardella
                                     LYNN E. RICCIARDELLA
                                     Senior Trial Attorney
                                     Torts Branch, Civil Division
                                     U.S. Department of Justice
                                     P.O. Box 146
                                     Benjamin Franklin Station
                                     Washington, D.C. 20044-0146
                                     Tel.: (202) 616-4356

       Dated: January 10, 2018




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